16007-FLY

                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RONALD HINTON,                                     )
                                                   )
                      Plaintiff,                   )
                                                   )
vs.                                                ) No. 15 C 10240
                                                   ) Honorable Robert W. Gettleman
MARCUS HARDY, TROY JOHNSON &                       )
JOEL DUNMARS,                                      )
                                                   )
                      Defendants.                  )

                     PLAINTIFF’S SECOND AMENDED COMPLAINT

       Now comes the plaintiff, RONALD HINTON, by and through his attorneys,

QUERREY & HARROW, LTD., and complaining of the defendants, MARCUS HARDY,

TROY JOHNSON and JOEL DUNMARS and further alleges and states as follows:

                                     JURISDICTION

       1.      This Court has jurisdiction over plaintiff’s Federal claims pursuant to 28

U.S.C. Section 1331 and 1334(a)(3).

                                         VENUE

       2.      The Northern District of Illinois is an appropriate venue under 28 U.S.C.

Section 1391(b)(2) because the events, acts and omissions giving rise to the claim

occurred in this District.

                                        PARTIES

       3.      Plaintiff, RONALD HINTON, is an inmate in the Illinois Department of

Corrections at Stateville Correctional Center. Violation of the plaintiff’s constitutional

rights occurred at Stateville Correction Center.
       4.     MARCUS HARDY, at all relevant times, was/is the Chief Administrative

Officer, Warden, Correctional Officer and/or employee of the Illinois Department of

Corrections and assigned to Stateville Correctional Center.         Defendant MARCUS

HARDY is sued in his individual capacity.

       5.     Defendant, TROY JOHNSON, at all relevant times, was/is the

Maintenance Officer, Correctional Officer and/or employee of the Illinois Department of

Corrections and assigned to Stateville Correctional Center.            Defendant TROY

JOHNSON is sued in his individual capacity.

       6.     Defendant, JOEL DUNMARS, at all relevant times, was/is a Correctional

Officer and/or employee of the Illinois Department of Corrections and assigned to

Stateville Correctional Center.    Defendant JOEL DUNMARS is sued in his official

capacity.

       7.     At all times relevant to the events described herein, all the defendants

have acted under color of state law.

                               FACTUAL ALLEGATIONS

       8.     Stateville Correctional Center is a maximum security facility and/or the unit

in which the plaintiff was housed is a maximum security unit.

       9.     At all relevant times, the plaintiff was assigned to Cell B-825. Cell B-825

is approximately six feet by ten feet. The plaintiff shared the cell with a fellow inmate.

The cell contains “bunk beds” one low and one high. The plaintiff was assigned to the

top bunk bed.

       10.    Inmates including the plaintiff assigned to the aforementioned housing unit

are confined to their cells 23 of 24 hours.
       11.    When the plaintiff was assigned and placed in Cell B-825, two bolts

protruded from the wall which posed a significant and unreasonable risk of harm. The

bolts existed to hold a shelf in place but the shelf had been removed. Although the shelf

had been removed, the bolts remained.

ANSWER:

       12.    The shelf was removed by Illinois Department of Corrections personnel.

       13.    The exposed bolts existed for a significant period of time, in excess of nine

(9) months.

       14.    On multiple occasions the plaintiff suffered injuries. The plaintiff was lucky

in that the injuries were relatively minor.

       15.    The plaintiff made numerous verbal complaints to numerous employees of

the Illinois Department of Corrections including the defendants HARDY, JOHNSON and

DUNMARS.

       16.    Defendant HARDY had actual knowledge of the condition, observed the

condition, was aware of the dangers it posed, had significant time and opportunity to

safeguard the condition, but did nothing. Specifically:

       (a)    On or about July 13, 2012 a written emergency grievance
              was directed to the attention of HARDY;

       (b)    On or about July 24, 2012, defendant HARDY toured “B-
              House” along with other individuals believed to be affiliated
              with “John Howard Association”. He was told of the
              condition and observed the condition and was apprised of
              the prior injuries sustained by the plaintiff as well as the
              numerous complaints that had been made;

       (c)    On August 29, 2012 a written emergency grievance was
              directed to HARDY;
       (d)     On or about September 19, 2012, defendant HARDY was
               present in B-House and was specifically advised of the
               protruding bolts, injuries sustained by plaintiff’s cellmate from
               the bolts;

       (e)     On or about October 10, 2012, a written letter was directed
               to HARDY apprising him that the condition had not been
               addressed;

       (f)     On or about October 25, 2012, defendant HARDY toured “B-
               House” and was apprised that the condition still existed.

       (g)     Defendant JOHNSON had actual knowledge of the
               condition, the significant danger and did nothing. On or
               about July 23, 2012, written communication was directed to
               defendant JOHNSON.

       (h)     Defendant JOHNSON was given other verbal/written
               complaints related to the dangerous condition.


       17.     Defendant JOHNSON knew of the condition.

       18.     Defendant JOHNSON had the power and responsibility to correct the

condition.

       19.     Defendant JOHNSON knew the protruding bolts posed an unnecessary

and unreasonable risk of significant injury.

       20.     Defendant JOHNSON did nothing.

       21.     Defendant DUNMARS was given multiple verbal and written warnings.

       22.     On or about July 24, 2012, the plaintiff directed a letter to defendant

DUNMARS advising of the condition, its danger and that he had sustained injuries.

       23.     Defendant DUNMARS had actual knowledge of the dangerous condition

and that it posed a significant risk of significant injury.

       24.     Defendant DUNMARS had the ability and responsibility to address the

condition.
       25.    Defendant DUNMARS did nothing.

       26.    On or about March 20, 2013, the plaintiff was exiting his assigned bunk,

the top bunk and fell forward with his right eye making direct contact with the protruding

bolt causing significant injury.

       27.    As a direct and proximate result, the plaintiff has had to endure significant

medical treatment and surgical intervention and despite the above has significant

residual impairment in addition to physical and emotional pain and suffering disability

and disfigurement all of which are continuing.

       28.    The plaintiff has exhausted all available administrative remedies related to

the matters described in his Second Amended Complaint.

                                         COUNT I

                      DEFENDANT HARDY 42 U.S.C. Section 1983

       29.    The plaintiff adopts, realleges and incorporates paragraphs 1-27 of his

Second Amended Complaint at Law as if fully set forth herein.

       30.    The defendant acted with deliberate indifference as to the protruding bolts

which constituted a dangerous condition posing a significant risk of harm and in so

doing violated the plaintiff’s constitutional right under the Eighth Amendment of the

Constitution of the United States. The plaintiff was denied his constitutional right to be

free from cruel and unusual punishment and has sustained irreparable injury.

       31.    The defendant knowingly and intentionally deprived the plaintiff of his

constitutional right to be free of cruel and unusual treatment.
                                        COUNT II

                   DEFENDANT JOHNSON 42 U.S.C. Section 1983

       32.    The plaintiff adopts, realleges and incorporates paragraphs 1-27 of his

Second Amended Complaint at Law as if fully set forth herein.

       33.    The defendant acted with deliberate indifference as to the protruding bolts

which constituted a dangerous condition posing a significant risk of harm and in so

doing violated the plaintiff’s constitutional right under the Eighth Amendment of the

Constitution of the United States. The plaintiff was denied his constitutional right to be

free from cruel and unusual punishment and has sustained irreparable injury.

       34.    The defendant knowingly and intentionally deprived the plaintiff of his

constitutional right to be free of cruel and unusual treatment.

                                        COUNT III

                   DEFENDANT JOHNSON 42 U.S.C. Section 1983

       35.    The plaintiff adopts, realleges and incorporates paragraphs 1-27 of his

Second Amended Complaint at Law as if fully set forth herein.

       36.    The defendant acted with deliberate indifference as to the protruding bolts

which constituted a dangerous condition posing a significant risk of harm and in so

doing violated the plaintiff’s constitutional right under the Eighth Amendment of the

Constitution of the United States. The plaintiff was denied his constitutional right to be

free from cruel and unusual punishment and has sustained irreparable injury.

       37.    The defendant knowingly and intentionally deprived the plaintiff of his

constitutional right to be free of cruel and unusual treatment.
        WHEREFORE, the plaintiff, prays that judgment be entered in his favor on his

Second Amended Complaint at Law and against the defendant, MARCUS HARDY,

TROY JOHNSON and JOEL DUNMARS for monetary damages to compensate the

plaintiff for his injuries, punitive damages for the willful wanton and intentional conduct

of the defendants and for Court costs and attorney’s fees.

        PLAINTIFF DEMANDS A JURY DEMAND.

                            Respectfully submitted,
                            Attorneys for Plaintiff,



                            By: s/David J. Flynn

David J. Flynn
Querrey & Harrow, Ltd.
175 W. Jackson Blvd., Suite 1600
Chicago, IL 60604
312-540-7000
E-Mail: dflynn@querrey.com
Document #: 1786373
